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                                                                     FILED
                INTHE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA                      JAN 28 2019
                        MISSOULA DIVISION                           Clerk, U
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AMERICAN CIVIL LIBERTIES                       CV 18-154-M-DWM
UNION, AMERICAN CIVIL
LIBERTIES UNION FOUNDATION,
AMERICAN CIVIL LIBERTIES
UNION OF MONTANA                                     ORDER
FOUNDATION, INC.,

            Plaintiffs,

      vs.

DEPARTMENT OF DEFENSE,
DEPARTMENT OF HOMELAND
SECURITY, DEPARMENT OF THE
INTERIOR, DEPARTMENT OF
JUSTICE,

            Defendants.


     IT IS ORDERED that the parties' Joint Case Management Plan (Doc. 28) is

ADOPTED. The following schedule will govern these proceedings:

     Deadline for Amended Pleadings            February 22, 2019

     Discovery Deadline                        April 12, 2019

     File supplemental Vaughn Indexes          April 12, 2019

     File Joint Record                         April 19, 2019

     Defendants' Motion for Summary
     Judgment and Brief (9,000 words)          May 1, 2019


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      Plaintiffs' Combined Cross-Motion
      for Summary Judgment and
      Response (13,000 words)                        May 22, 2019

      Defendants' Combined Reply and
      Response (6,500 words)                         June 12, 2019

      Plaintiffs' Reply (4,500 words)                June 26, 2019

This schedule is not subject to revision absent a Court order. Motions to continue

will be granted only upon a showing of good cause. Local Rule 7 .1 governs the

briefing schedule and word limits for all motions that are not discussed in this

Order. The filing of such motions will not stay this Order's deadlines.

      IT IS FURTHER ORDERED that the parties shall comply with Local Rule

56.1 in filing their motions for summary judgment.

      IT IS FURTHER ORDERED that in all filings with the Court, the parties

shall not use acronyms except for the following commonly understood acronyms in

record review cases: NEPA, NFMA, APA, ESA, EIS, and EA.

      DATED this ~          ay of January, 2019.
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